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                     EXHIBIT 27
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                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF OHIO
                                            WESTERN DIVISION


       UNITED STATES OF AMERICA                      )
                                                     )       Case No.
                     Plaintiff,                      )
       v.                                            )
                                                     )       JUDGE
       YAMASHITA RUBBER CO., LTD.                    )
                                                     )
                      Defendant.                     )

                                             PLEA AGREEMENT

              The United States of America and Yamashita Rubber Co., Ltd. ("defendant"), a

       corporation organized and existing under the laws of Japan, hereby enter into the following Plea

       Agreement pursuant to Rule 11 ( c)(1 )(C) of the Federal Rules of Criminal Procedure ("Fed. R.

       Crim. P.").

                                           RIGHTS OF DEFENDANT

              L      The defendant understands its rights:

                     (a)     to be represented by an attorney;

                     (b)     to be charged by Indictment;

                     (c)     as a corporation organized and existing under the laws of Japan, to decline

              to accept service of the Summons in this case, and to contest the jurisdiction of the

              United States to prosecute this case against it in the United States District Court for the

              Northern District of Ohio;

                     (d)     to plead not guilty to any criminal charge brought against it;




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                     (e)     to have a trial by jury, at which it would be presumed not guilty of the

             charge and the United States would have to prove every essential element of the charged

             offense beyond a reasonable doubt for it to be found guilty;

                     (f)     to confront and cross-examine witnesses against it and to subpoena

             witnesses in its defense at trial;

                     (g)     to appeal its conviction ifit is found guilty; and

                     (h)     to appeal the imposition of sentence against it.

                                    AGREEMENT TO PLEAD GUILTY
                                     AND WAIVE CERTAIN RIGHTS

             2.      The defendant knowingly and voluntarily waives the rights set out in Paragraph

      1(b)-(g) above. The defendant also knowingly and voluntarily waives the right to file any

      appeal, any collateral attack, or any other writ or motion, including but not limited to an appeal

      under 18 U.S.C. § 3742, that challenges the sentence imposed by the Court ifthat sentence is

      consistent with or below the recommended sentence in Paragraph 9 of this Plea Agreement,

      regardless of how the sentence is determined by the Court. This agreement does not affect the

      rights or obligations of the United States as set forth in 18 U.S.C. § 3742(b)-(c). Nothing in this

      paragraph, however, will act as a bar to the defendant perfecting any legal remedies it may

      otherwise have on appeal or collateral attack respecting claims of ineffective assistance of

      counsel or prosecutorial misconduct. The defendant agrees that there is currently no known

      evidence of ineffective assistance of counsel or prosecutorial misconduct. Pursuant to Fed. R.

      Crim. P. 7(b), the defendant will waive indictment and plead guilty to a one-count Information to

      be filed in the United States District Court for the Northern District of Ohio. The Information

      will charge the defendant with participating in a conspiracy to suppress and eliminate

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       competition in the automotive parts industry by agreeing to rig bids for, and to fix, stabilize, and

       maintain the prices of, automotive anti-vibration rubber products sold to Honda Motor Company,

       Ltd., American Honda Motor Company, Inc., and Suzuki Motor Corporation (collectively,

       "automobile manufacturers") in the United States and elsewhere, from at least as early as April

       2003 until at least May 2012, in violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

               3.      The defendant will plead guilty to the criminal charge described in Paragraph 2

       above pursuant to the terms of this Plea Agreement and will make a factual admission of guilt to

       the Court in accordance with Fed. R. Crim. P. 11, as set forth in Paragraph 5 below.

                                 ELEMENTS OF THE OFFENSE CHARGED

               4.      The elements of a violation of 15 U.S.C. § I, to which the defendant will plead

       guilty, are as follows:

               First, that a conspiracy that amounted to an unreasonable restraint of trade or commerce

       among the several States or with foreign nations was knowingly formed, and existed at or about

       the time alleged;

              Second, that the defendant knowingly entered into the conspiracy; and

              Third, that either acts taken in furtherance of the conspiracy were in the flow of interstate

       or foreign commerce, or the conspirators' general business activities infected by the conspiracy

       substantially affected interstate or foreign commerce.

                                 FACTUAL BASIS FOR OFFENSE CHARGED

              5.      Had this case gone to trial, the United States would have presented evidence

       sufficient to prove the following facts beyond a reasonable doubt:




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                   (a)     For purposes of this Plea Agreement, the "relevant period" is that period

            from at least as early as April 2003 until at least May 2012. During the relevant period,

            the defendant was a corporation organized and existing under the laws of Japan. The

            defendant had its principal place of business in Saitama, Japan, and a U.S. subsidiary in

            Washington Court House, Ohio. During the relevant period, the defendant was a

            producer of automotive anti-vibration rubber products, was engaged in the sale of

            automotive anti-vibration rubber products to automobile manufacturers in the United

            States and elsewhere, and employed 1,000 or more individuals. Automotive anti­

            vibration rubber products are comprised primarily of rubber and metal, and are installed

            in automobiles to reduce engine and road vibration. During the relevant period, the

            defendant's sales of automotive anti-vibration rubber products affecting automobile

            manufacturers in the United States and elsewhere totaled at least $40 million.

                   (b)     During the relevant period, the defendant, through certain of its officers

            and employees, including certain high-level personnel of the defendant, participated in a

            conspiracy with other persons and entities engaged in the manufacture and sale of

            automotive anti-vibration rubber products, the primary purpose of which was to suppress

            and eliminate competition by agreeing to rig bids for, and to fix, raise, and maintain the

            prices of, automotive anti-vibration rubber products sold to automobile manufacturers in

            the United States and elsewhere. Ill furtherance of the conspiracy, the defendant, through

            its officers and employees, engaged in discussions and attended meetings with

            representatives of other companies involved in the manufacture and sale of automotive

            anti-vibration rubber products. During such discussions and meetings, agreements were


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             reached to allocate the supply of automotive anti-vibration rubber products sold to

             automobile manufacturers, rig bids quoted to automobile manufacturers for automotive

             anti-vibration rubber products, and to fix, raise, and maintain the prices of automotive

             anti-vibration rubber products sold to automobile manufacturers in the United States and

             elsewhere.

                     (c)    During the relevant period, automotive anti-vibration rubber products sold

             by one or more of the conspirator firms, and equipment and supplies necessary to the

             production and distribution of automotive anti-vibration rubber products, as well as

             payments for automotive anti-vibration rubber products, traveled in interstate and foreign

             commerce. The business activities of the defendant and its co-conspirators in connection

             with the production and sale of automotive anti-vibration rubber products that were the

             subject of this conspiracy were within the flow of, and substantially affected, interstate

             and foreign trade and commerce.

                     (d)    Acts in furtherance of the conspiracy were carried out within the Northern

             District of Ohio, Western Division, and elsewhere. Automotive anti-vibration rubber

             products that were the subjects of the conspiracy were sold to automobile manufacturers

             by one or more of the conspirators in the Northern District of Ohio.

                    (e)     The defendant agrees that the above summary fairly and accurately sets

             forth the.defendant's offense conduct and a factual basis for the guilty plea. The

             defendant further agrees that the facts set forth l)bove are true and could be established

             beyond a reasonable doubt if the case were to proceed to trial. The defendant

             acknowledges that the above summary does not set forth each and every fact that the


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             United States could prove at trial, nor does it necessarily encompass all of the acts which

             the defendant committed in furtherance of the offense to which the defendant is pleading

             guilty.

                                               MAXIMUM SENTENCE

             6.        The defendant understands that the statutory maximum penalty which may be

      imposed against it upon conviction for a violation of Section One of the Sherman Antitrust Act is

      a fine in an amount equal to the greatest of:

                       (a)    $100 million (15 U.S.C. § l);

                       (b)    twice the gross pecuniary gain the conspirators derived from the crime

             (18 U.S.C. § 3571(c) and (d)); or

                       (c)    twice the gross pecuniary loss caused to victims of the crime by the

             conspirators (18 U.S.C. § 357l(c) and (d)).

             7.        In addition, the defendant understands that:

                       (a)    pursuant to 18 U.S.C. § 356l(c)(l), the Court may impose a term of

             probation of at least one year, but not more than five years;

                       (b)    pursuant to U.S.S.G. § 8Bl.1 ofthe United States Sentencing Guidelines

             ("U.S.S.G.," "Sentencing Guidelines," or "Guidelines") or 18 U.S.C. § 3563(b)(2) or

             § 3663(a)(3), the Court may order it to pay restitution to victims of the offense; and

                       (c)    pursuant to 18 U.S.C. § 3013(a)(2)(B), the Court is required to order the

             defendant to pay a $400 special assessment upon .conviction for the charged crime.




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                                        SENTENCING GUIDELINES

              8.      The defendant understands that the Sentencing Guidelines are advisory, not

       mandatory, but that the Court must consider, in determining and imposing sentence, the

       Guidelines Manual in effect on the date of sentencing unless that Manual provides for greater

       punishment than the Manual in effect on the last date that the offense of conviction was

       committed, in which case the Court must consider the Guidelines Manual in effect on the last

       date that the offense of conviction was committed. The parties agree that there is no ex post

      facto issue under the November 1, 2012, Guidelines Manual. The Court must also consider the

       other factors set forth in 18 U.S.C. § 3553(a) in determining and imposing sentence. The

       defendant understands that the Guidelines determinations will be made by the Court by a

       preponderance of the evidence standard. The defendant understands that although the Court is

      not ultimately bound to impose a sentence within the applicable Guidelines range, its sentence

      must be reasonable based upon consideration of all relevant sentencing factors set forth in 18

      U.S.C. § 3553(a).

                                       SENTENCING AGREEMENT

              9.     Pursuant to Fed. R. Crim. P. 1 l(c)(l)(C), and subject to the full, tru1hful, and

      continuing cooperation of the defendant and its subsidiaries, as defined in Paragraph 12 of this

      Plea Agreement, the United States and the defendant agree that the appropriate disposition of this

      case is, and agree to recommend jointly that the Court impose, a sentence requiring the defendant

      to pay to the United States a criminal fine of $11 million, payable in full before the fifteenth

      (15th) day after the date of judgment, and no order ofrestitution ("the recommended sentence").

      The parties agree that there exists no aggravating or mitigating circumstance of a kind, or to a


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      degree, not adequately taken into consideration by the U.S. Sentencing Commission in

      formulating the Sentencing Guidelines justifying a departure pursuant to U.S.S.G. § 5K2.0. The

      parties agree not to seek at the sentencing hearing any sentence outside of the Guidelines range

      nor any Guidelines adjustment for any reason that is not set forth in this Plea Agreement. The

      parties further agree that the recommended sentence set forth in this Plea Agreement is

      reasonable.

                     (a)    The defendant understands that the Court will order it to pay a $400

             special assessment for the offense charged in the Information, pursuant to 18 U.S.C.

             § 3013(a)(2)(B), in addition to any fine imposed.

                     (b)    In light of the availability of civil causes of action, including the civil

             cases that have been filed against the defendant and its U.S. subsidiary, which potentially

             provide for a recovery of a multiple of actual damages, the recommended sentence does

             not include a restitution order for the offense charged in the Information.

                     (c)    Both parties will recommend that no term of probation be imposed, but the

             defendant understands that the Court's denial of this request will not void this Plea

             Agreement.

                     (d)    The United States and the defendant jointly submit that this Plea

             Agreement, together with the record that will be created by the United States and the

             defendant at the plea and sentencing hearings, and the further disclosure described in

             Paragraph 10, will provide sufficient information. concerning the defendant, the crime

             charged in .this case, and the defendant's role in the crime to enable the meaningful

            . exercise of sentencing authority by the Court under 18 U.S.C. § 3553. The United States


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               and the defendant agree to request jointly that the Court accept the defendant's guilty plea

               and impose sentence on an expedited schedule as early as the date of arraignment, based

               upon the record provided by the defendant and the United States, under the provisions of

               Fed. R. Crim. P. 32(c)(l)(A)(ii), U.S.S.G. § 6Al.l, and Local Criminal Rule 32.2(b)(5).

               The Court's denial of the request to impose sentence on an expedited schedule will not

               void this Plea Agreement.

                1O.    Subject to the full, truthful, and continuing cooperation of the defendant and its

        subsidiaries, as defined in Paragraph 12 of this Plea Agreement, and prior to sentencing in the

        case, the United States will fully advise the Court of the fact, manner, and extent of the

        defendant's and its subsidiaries' cooperation, their commitment to prospective cooperation with

        the United States's investigation and prosecutions, all material facts relating to the defendant's

        involvement in the charged offense, and all other relevant conduct. The Guidelines fine range

        calculated by the United States exceeds the fine contained in the recommended sentence set out

        in Paragraph 9 above. Subject to the full, truthful, and continuing cooperation of the defendant

        and its subsidiaries, as defined in Paragraph 12 of this Plea Agreement, and prior to sentencing in

        this case, the United States agrees that it will make a motion, pursuant to U.S.S.G. §8C4.l, for a

        downward departure from the Guidelines fine range calculated by the United States, and will

        request that the Court impose the fine contained in the recommended sentence set out in

        Paragraph 9 of this Plea Agreement because of the defendant's and its subsidiaries' substantial

        assistance in the government's investigation and prosec.utions of violations of federal criminal

       law in the automotive anti-vibration rubber parts industry.




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              11.     The United States and the defendant understand that the Court retains complete

       discretion to accept or reject the recommended sentence provided for in Paragraph 9 of this Plea

       Agreement.

                      (a)    If the Court does not accept the recommended sentence, the United States

              and the defendant agree that this Plea Agreement, except for Paragraph 11 (b) below, will

              be rendered void.

                      (b)    If the Court does not accept the recommended sentence, the defendant will

              be free to withdraw its guilty plea (Fed. R. Crim. P. ll(c)(5) and (d)). If the defendant

              withdraws its plea of guilty, this Plea Agreement, the guilty plea, and any statement made

              in the course of any proceedings under Fed. R. Crim. P. 11 regarding the guilty plea or

              this Plea Agreement, or made in the course of plea discussions with an attorney for the

              government will not be admissible against the defendant in any criminal or civil

              proceeding, except as otherwise provided in Federal Rule of Evidence 410. In addition,

              the defendant agrees that, if it withdraws its guilty plea pursuant to this subparagraph of

              the Plea Agreement, the statute of limitations period for any offense referred to in

              Paragraph 14 of this Plea Agreement will be tolled for the period between the date of

              signature of this Plea Agreement and the date the defendant withdrew its guilty plea or

             for a period of sixty (60) days after the date of signature of this Plea Agreement,

             whichever period is greater.

                                     DEFENDANT'S COOPERATION

              12.    The defendant and its subsidiaries (for purposes of this Plea Agreement, the

      defendant's subsidiaries are entities in which the defendant had a greater than 50% ownership


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        interest as of the date of signature of this Plea Agreement, including, but not limited to YUSA

        Corporation), will cooperate fully and truthfully with the United States in the prosecution of this

        case; the current federal investigation of violations of federal antitrust and related criminal Jaws

        involving the manufacture or sale of automotive anti-vibration rubber products; any federal

        investigation resulting therefrom; and any litigation or other proceedings arising or resulting

        from any such investigation to which the United States is a party (collectively, "Federal

        Proceeding"). Federal Proceeding includes, but is not limited to, an investigation, prosecution,

        litigation, or other proceeding regarding obstruction of, the making of a false statement or

        declaration in, the commission of perjury or subornation of perjury in, the commission of

        contempt in, or conspiracy to commit such offenses in, a Federal Proceeding. The full, truthful,

        and continuing cooperation of the defendant and its subsidiaries will include, but not be limited

        to:

                       (a)     producing to the United States all documents., information, and other

               materials, wherever located, not protected under the attorney-client privilege or the work­

               product doctrine, (and with translations into English), in the possession, custody, or

               control of the defendant or any of its subsidiaries, that are requested by the United States

               in connection with any Federal Proceeding; and

                       (b)     using its best efforts to secure the full, truthful, and continuing

               cooperation, as defined in Paragraph 13 of this Plea Agreement, of the current and former

               directors, officers and employees of the defendant or any of its subsidiaries as may be

               requested by the United States, but excluding IDroshi Yoshida (who has entered a

               separate plea agreement with the United States) and the individual listed in Attachment A


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                   filed under seal, including making these persons available in the United States and at

                   other mutually agreed-upon locations, at the defendant's expense, for interviews and the

                   provision of testimony in grand jury, trial, and other judicial proceedings in connection

                   with any Federal Proceeding. Current directors, officers, and employees are defined for

                   purposes of this Plea Agreement as individuals who are directors, officers, or employees

                   of the defendant or any of its subsidiaries as of the date of signature of this Plea

                   Agreement.

                   13.    The full, truthful, and continuing cooperation of each person described in

           Paragraph 12(b) above, will be subject to the procedures and protections of this paragraph, and

           will include, but not be limited to:

                          (a)     producing in the United States and at other mutually agreed-upon

                   locations all documents, including claimed personal documents and other materials,

                  wherever located, not protected under the attorney-client privilege or the work-product

                  doctrine, (and with translations into English), that are requested by attorneys and agents

                  of the United States in connection with any Federal Proceeding;

                          (b)     making himself or herself available for interviews in the United States and

                  at other mutually agreed-upon locations, not at the expense of the United States, upon the

                  request of attorneys and agents of the United States in connection with any Federal

                  Proceeding;

                          (c)     responding fully and truthfully to ~11 inquiries of the United States in

                  connection with any Federal Proceeding, without falsely implicating any person or

I                 intentionally withholding any information, subject to the penalties of making a false
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              statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C.

              § 1503, et seq.), or conspiracy to commit such offenses;

                      (d)     otherwise voluntarily providing the United States with any material or

              information not requested in (a) - (c) of this paragraph and not protected underthe

              attorney-client privilege or work-product doctrine that he or she may have that is related

              to any Federal Proceeding;

                     (e)     when called upon to do so by the United States in connection with any

              Federal Proceeding, testifying in grand jury, trial, and other judicial proceedings in the

              United States fully, truthfully and under oath, subject to the penalties of perjury (18

              U.S.C. § 1621), making a false statement or declaration in grand jury or court

              proceedings (18 U.S.C. § 1623), contempt (18 U.S.C. §§ 401-402), and obstruction of

              justice (18 U.S.C. § 1503, et seq.); and

                     (f)     agreeing that, if the agreement not to prosecute him or her in this Plea

              Agreement is rendered void under Paragraph 15(c), the statute of limitations period for

              any Relevant Offense as defined in Paragraph 15(a) shall be tolled as to him or her for the

              period between the date of signature of this Plea Agreement and six (6) months after the

              date that the United States gave notice of its intent to void its obligations to that person

              under this Plea Agreement.

                                     GOVERNMENT'S AGREEMENT

              14.    Subject to the full, truthful, and continui!1g cooperation of the defendant and its

       subsidiaries, as defined in Paragraph 12 of this Plea Agreement, and upon the Court's acceptance

       of the guilty plea called for by this Plea Agreement and the imposition of the recommended


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       sentence, the United States agrees that it will not bring further criminal charges against the

       defendant or any of its subsidiaries for any act or offense committed before the date of signature

       of this Plea Agreement that was undertaken in furtherance of an antitrust conspiracy involving

       the manufacture or sale of automotive anti-vibration rubber products. Tue nonprosecution terms

       of this paragraph do not apply to (a) civil matters of any kind; (b) any violation of the federal tax

       or securities laws or conspiracy to commit such offenses; (c) any crime of violence; (d) any acts

      of subornation of perjury (18 U.S.C. § 1622), making a false statement (18 U.S.C. § 1001),

      obstruction of justice (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or

       conspiracy to commit such offenses.

              15.     The United States agrees to the following:

                      (a)     Upon the Court's acceptance of the guilty plea called for by this Plea

              Agreement and the imposition of the recommended sentence and subject to the

              exceptions noted in Paragraph 15(c), the United States agrees that it will not bring

              criminal charges against any current or former director, officer or employee of the

              defendant or its subsidiaries for any act or offense committed before the date of signature

              of this Plea Agreement and while that person was acting as a director, officer or

              employee of the defendant or its subsidiaries that was undertaken in furtherance of an

              antitrust conspiracy involving the manufacture or sale of automotive anti-vibration rubber

              products ("Relevant Offense"), with the exception that the protections granted in this

              paragraph will not apply to Hiroshi Yoshida (who has entered a separate plea agreement

              with the United States) and the individual listed in Attachment A (filed under seal);




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                     (b)     Should the United States detennine that any current or fonner director,

              officer, or employee of the defendant or its subsidiaries may have infonnation relevant to

              any Federal Proceeding, the United States may request that person's cooperation under

             the terms of this Plea Agreement by written request delivered to counsel for the

              individual (with a copy to the undersigned colUlsel for the defendant) or, if the individual

              is not known by the United States to be represented, to the undersigned counsel for the

              defendant;

                     (c)     If any person requested to provide cooperation under Paragraph 15(b) fails

             to comply with his or her obligations under Paragraph 13, then the terms of this Plea

             Agreement as they pertain to that person, and the agreement not to prosecute that person

              granted in this Plea Agreement, will be rendered void, and the United States may

             prosecute such person criminally for any federal crime of which the United States has

             knowledge, including, but not limited to any Relevant Offense;

                     ( d)    Except as provided in Paragraph I 5(e), infonnation provided by a person

             described in Paragraph 15(b) to the United States under the tenns of this Plea Agreement

             pertaining to any Relevant Offense, or any infonnation directly or indirectly derived from

             that infonnation, may not be used against that person in a criminal case, except in a

             prosecution for perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false

             statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C.

             § 1503, et seq.), contempt (18 U.S.C. §§ 401-02), or conspiracy to commit such offenses;

                     (e)     If any person who provides infonnation to the United States under this

             Plea Agreement fails to comply fully with his or her obligations under Paragraph 13 of


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              this Plea Agreement, the agreement in Paragraph 15(d) not to use that information or any

              information directly or indirectly derived from it against that person in a criminal case

              will be rendered void;

                     (f)     The nonprosecution terms of this paragraph do not apply to civil matters

              of any kind; any violation of the federal tax or securities laws or conspiracy to commit

              such offenses; any crime of violence; or perjury or subornation of perjury (18 U.S.C. §§

              1621-22), making a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction

             of justice (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-02), or conspiracy to

             commit such offenses; and

                     (g)     Documents provided under Paragraphs 12(a) and 13(a) will be deemed

             responsive to outstanding grand jury subpoenas issued to the defendant or any of its

             subsidiaries.

              16.    The United States agrees that when any person travels to the United States for

      interviews, grand jury appearances, or court appearances pursuant to this Plea Agreement, or for

      meetings with counsel in preparation therefor, the United States will take no action, based upon

      any Relevant Offense, to subject such person to arrest, detention or service of process, or to

      prevent such person from departing the United States. This paragraph does not apply to an

      individual's commission of perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a

      false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C.

      § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or co11spiracy to commit such offenses.

             17.     The defendant understands that it may be subject to suspension or debarment

      action by state or federal agencies other than the United States Department of Justice, Antitrust


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        Division, based upon the conviction resulting from this Plea Agreement, and that this Plea

        Agreement in no way controls what action, if any, other agencies may take. However, the

        Antitrust Division agrees that, if requested, it will advise the appropriate officials of any

        governmental agency considering such action of the fact, manner and extent of the cooperation

        of the defendant and its subsidiaries as a matter for that agency to consider before determining

        what action, if any, to truce. The defendant nevertheless affirms that it wants to plead guilty

        regardless of the suspension or debarment consequences of its plea.

                                      REPRESENTATION BY COUNSEL

               18.     The defendant has been represented by counsel and is fully satisfied that its

        attorneys have provided competent legal representation. The defendant has thoroughly reviewed

        this Plea Agreement and acknowledges that counsel has advised it of the nature of the charge,

        any possible defenses to the charge and the nature and range of possible sentences ..

                                               VOLUNTARY PLEA

               19.     The defendant's decision to enter into this Plea Agreement and to tender a plea of

        guilty is freely and voluntarily made and is not the result of force, threats, assuran,ces, promises,

       or representations other than the representations contained in this Plea Agreement and

       Attachment A (filed under seal). The United States has made no promises or representations to

       the defendant as to whether the Court will accept or reject the recommendations contained within

       this Plea Agreement.

                                    VIOLATION OF PLEA AGREEMENT

               20.     The defendant agrees that, should the United States determine in good faith,

       during the period that any Federal Proceeding is pending, that the defendant or any of its


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      subsidiaries have failed to provide full, truthful, and continuing cooperation, as defined in

      Paragraph 12 of this Plea Agreement, or have otherwise violated any provision of this Plea

      Agreement, the United States will notify counsel for the defendant in writing by personal or

      overnight delivery, email, or facsimile transmission and may also notify counsel by telephone of

      its intention to void any of its obligations under this Plea Agreement (except its obligations under

      this paragraph), and the defendant and its subsidiaries will be subject to prosecution for any

      federal crime of which the United States has knowledge including, but not limited to, the

      substantive offenses relating to the investigation resulting in this Plea Agreement. The defendant

      agrees that, in the event that the United States is released from its obligations under this Plea

      Agreement and brings criminal charges against the defendant or its subsidiaries for any offense

      referred to in Paragraph 14 of this Plea Agreement, the statute of limitations period for such

      offense will be tolled for the period between the date of signature of this Plea Agreement and six

      (6) months after the date the United States gave notice of its intent to void its obligations under

      this Plea Agreement.

              21.     The defendant understands and agrees that in any further prosecution of it or its

      subsidiaries resulting from the release of the United States from its .obligations under this Plea

      Agreement, because of the defendant's or any of its subsidiaries' violation of this Plea

      Agreement, any documents, statements, information, testimony, or evidence provided by it, its

      subsidiaries, or its current or former directors, officers, or employees of it or its subsidiaries to

      attorneys or agents of the United States, federal grand jm:ies or courts, and any leads derived

      therefrom, may be used against it or its subsidiaries. In addition, the defendant unconditionally




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       waives its right to challenge the use of such evidence in any such further prosecution,

       notwithstanding the protections of Federal Rule of Evidence 410.

                                         ENTIRETY OF AGREEMENT

              22.       This Plea Agreement and Attachment A constitute the entire agreement between

       the United States and the defendant concerning the disposition of the criminal charge in this case.

       This Plea Agreement cannot be modified except in writing, signed by the United States and \he

       defendant.

              23.       The undersigned is authorized to enter this Plea Agreement on behalf of the

       defendant as evidenced by the Resolution of the Board of Directors of the defendant attached to,

       and incorporated by reference in, this Plea Agreement.

              24.       The undersigned attorneys for the United States have been authorized by the

       Attorney General of the United States to enter this Plea Agreement on behalf of the

       United States.

              25.       A facsimile or PDF signature shall be deemed an original signature for the

       purpose of executing this Plea Agreement. Multiple signature pages are authorized for the

       purpose of executing this Plea Agreement.




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